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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF GEORGIA
                                 AUGUSTA DIVISION



UNITED STATES OF AMERICA

                                                             CR 1:09-073

BRIAN CHRISTOPHER HARRIS



                ORDER ON MOTION FOR LEAVE OF ABSENCE



      Alicia Brooke Jennings having made application to the Court for a leave of

absence, and it being evident from the application that the provisions of Local Rule 83.9

have been complied with, and no objections having been received;

      IT IS HEREBY ORDERED THAT Alicia Brooke Jennings be granted

leave of absence for the following periods: October 14, 2016 through October 17,

2016 and October 21, 2016 through October 24, 2016.

      This o^Tday ofSeptember, 2016.




                                         HONORABLE J. RAN0AL HALL'
                                         United Stites District Judge
                                         SouthenyDistrict of Georgia
